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                        UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Scott Angel,                                )
                                            )
                        Plaintiff,          )
                                            )              Case No. 24 C 1876
               v.                           )
                                            )              Hon. Jorge L. Alonso
Sauk Village, et al.,                       )
                                            )
                        Defendants.         )


                                 Memorandum Opinion and Order

       Before the Court is Defendants Sauk Village and Officer Jason Mann’s motion to dismiss

Plaintiff Scott Angel’s complaint under Federal Rule of Civil Procedure 12(b)(6). For the reasons

stated below, Defendants’ motion is denied. [14]

                                         Background

       The Court takes the below facts from the well-pleaded allegations in Angel’s complaint,

which are accepted as true for purposes of Defendants’ motion to dismiss, as well as video

evidence Angel provided with his complaint. United Cent. Bank v. Davenport Estate LLC, 815

F.3d 315, 318 (7th Cir. 2016).

       This dispute arises from Angel, a deaf man, attempting to purchase iced coffee from

Dunkin’. On February 8, 2024, Angel was refused service by one Dunkin’ employee, but

subsequently received his usual iced coffee from another Dunkin’ employee. The next day, a

Dunkin’ employee handed Angel a note through the drive-through window informing him that he

would not be served. Angel proceeded to the indoor counter but was again refused service. The

manager of the building owner, who is not a Dunkin’ employee, then instructed Angel to leave the

premises. Angel attempted to communicate with the manager, but the manager ultimately called
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the police.

       Officer Mann of the Sauk Village Police Department arrived at the premises. Mann told

Angel to leave, and Angel responded that he was deaf. Mann replied that he knew this. Angel told

Mann that he wanted to talk to him, and in response Mann pointed to the door and responded that

Angel should go outside. Angel complied and left the building. When Mann came outside, Angel

asked to communicate with Mann through writing, gesturing that he wished to use his pen to do

so and again telling Mann that he was deaf. Mann instructed him to “Just leave.” After more

conversation, Angel again asked to communicate through writing, to which Mann responded, “Just

go.” Mann did not offer any accommodations to allow Angel to more effectively communicate

with him and instead walked away from Angel.

       Angel alleges that Mann’s conduct violates Title II of the Americans with Disabilities Act

(“Title II”), the Rehabilitation Act, the Americans with Disabilities Act Amendments Act

(“ADAAA”), the Illinois Human Rights Act (“IHRA”), and 42 U.S.C. § 1983. On May 31, 2024,

Defendants moved to dismiss Angel’s claims. (ECF No. 14.) On August 8, 2024, Angel filed an

amended complaint which made certain changes not relevant to the present motion. (ECF No. 32.)

                                         Legal Standard

       A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) tests whether the

complaint states a claim on which relief may be granted. Richards v. Mitcheff, 696 F.3d 635, 637

(7th Cir. 2012). Under Rule 8(a)(2), a complaint must include “a short and plain statement of the

claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). The short and plain

statement under Rule 8(a)(2) must “‘give the defendant fair notice of what . . . the claim is and the

grounds upon which it rests.’” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting

Conley v. Gibson, 355 U.S. 41, 47 (1957)). This standard requires a complaint to contain sufficient
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“[f]actual allegations” to “raise a right to relief above the speculative level.” Twombly, 550 U.S.

at 555. Stated differently, “a complaint must contain sufficient factual matter, accepted as true, to

‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Twombly, 550 U.S. at 570). “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556). The Court must “construe the

complaint in the light most favorable to plaintiff, accept all well-pleaded facts as true, and draw

reasonable inferences in plaintiff's favor.” Taha v. Int’l Bhd. of Teamsters, Loc. 781, 947 F.3d 464,

469 (7th Cir. 2020). However, it need not “accept as true legal conclusions, or threadbare recitals

of the elements of a cause of action, supported by mere conclusory statements.” Brooks v. Ross,

578 F.3d 574, 581 (7th Cir. 2009).

                                            Discussion

        For the reasons that follow, Defendants’ motion is denied.

   A.        Angel’s Title II, ADAAA, and Rehabilitation Act Claim

        Defendants argue that Count III of Angel’s complaint alleging violations of Title II, the

ADAAA, and the Rehabilitation Act should be dismissed because the Seventh Circuit has never

held Title II applies to police encounters and investigations, and because even assuming Title II

applies, Angel does not adequately plead that his disability was the but-for cause of Defendant

Mann’s actions. The Court disagrees and declines to dismiss this claim.

        i.      Title II’s Application to Police Encounters

        The Court is unpersuaded that Angel’s claim under Title II should be dismissed because it

has never been held to apply to police encounters by the Seventh Circuit. While Defendants are

correct that the Seventh Circuit has had an opportunity to hold that Title II applies to police
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encounters but has not done so, it likewise has not held that does not apply to police encounters,

and instead resolved the case on other grounds. King v. Hendricks Cnty. Comm’rs, 954 F.3d 981,

988 (7th Cir. 2020). Further, Defendants’ argument that Title II does not apply makes little sense

given that both decisions they cite remarked that the application of Title II to law-enforcement

encounters is an “open question” in the Seventh Circuit. King, 954 F.3d at 988 (“Whether Title II

applies to law enforcement investigations and arrests, and if so to what extent, is an open question

in this circuit.”); Crumley v. Forestal, No. 1:19-CV-4110-RLM-DML, 2021 WL 4454111, at *10

(S.D. Ind. Sept. 29, 2021) (same). Because Defendants have put forward no argument or authority

regarding how this open question should be resolved, the Court does not dismiss Angel’s claims

on this basis.

        ii.      But-For Cause

        Defendants alternatively argue that Angel fails to state a claim because his complaint

established that his actions and not his disability were the but-for cause of Mann’s conduct.

However, but-for cause is a requirement only to prove a prima facie case under Title II and the

Rehabilitation Act, which Angel need not do at the pleading stage. Swierkiewicz v. Sorema N.A.,

534 U.S. 506, 507 (2002) (holding that the prima facie case “should not be transposed into a rigid

pleading standard for discrimination cases”); Thomas v. JBS Green Bay, Inc., 120 F.4th 1335, 1338

(7th Cir. 2024) (“That something must be proved (if plaintiff is to win) does not imply that it must

be alleged in the complaint . . . the time to demand evidence is the summary-judgment stage. All

the complaint need do is state a grievance. Details and proofs come later.”); H.O.P.E., Inc. v. Eden

Mgmt. LLC, No. 13-CV-7391, 2017 WL 4339824, at *12 (N.D. Ill. Sept. 29, 2017) (“[A] Plaintiff

need not plead all of the elements of a prima facie case of discrimination under the ADA and the

Rehabilitation Acts.” (quotations omitted)).
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        Instead, the Seventh Circuit has made clear that “[t]o state a claim under Title II of the

ADA [or the Rehabilitation Act], [a plaintiff] need[s] only to plead facts suggesting that he is a

qualified individual with a disability who by reason of such disability was denied the benefits of

the services, programs, or activities of a public entity.” Brown v. Meisner, 81 F.4th 706, 708 (7th

Cir. 2023) (emphasis added) (quotations omitted). This “is not an exacting standard.” Id.

        Angel’s complaint and its accompanying video evidence meet this standard. The parties do

not dispute that Angel has alleged a qualifying disability—nor could they, as Angel has alleged

that he is deaf. (ECF No. 32 ¶ 18.) Further, Angel alleges facts suggesting he was denied the benefit

of participating in Mann’s investigation and communicating with Mann due to being deaf. Namely,

Mann limited Angel’s ability to communicate by refusing to accommodate Angel’s disability,

including denying Angel the ability to communicate in writing twice despite knowing Angel was

deaf. (ECF No. 32 ¶¶ 39–41, 50, 52, 93–94, 97–98.) As such, Defendants’ motion is denied as to

Count III.

   B.        Angel’s IHRA Claim

        Defendants seek dismissal of Angel’s IHRA claim only to the extent his Title II claim fails.

(ECF No. 14 at 7.) Because Angel has stated a claim under Title II, the Court does not dismiss

Angel’s IHRA claim.

   C.        Angel’s § 1983 Claim

        Defendants next argue that Angel’s Equal Protection claim under § 1983 should be

dismissed for failing to plead adequate comparators. Even assuming Angel is required to identify

comparators to prove his claim, this argument fails because the Seventh Circuit has held, “[e]ven

in a case where a plaintiff would need to identify a similarly situated person to prove his case . . .

we see no basis for requiring the plaintiff to identify the person in the complaint.” Geinosky v. City
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of Chicago, 675 F.3d 743, 748 n.3 (7th Cir. 2012) (emphasis in original).

        Defendants separately argue that Angel’s “claim that he was unable to effectively

communicate with Ofc. Mann outside of the premises” fails because inadequate police work is

insufficient “to state a civil rights claim in the absence of another recognized constitutional right.”

(ECF No. 14 at 12.) But even if true, Defendants acknowledge Angel’s § 1983 claim includes

Mann’s differential treatment of Angel compared to non-deaf customers before Angel’s attempt

to communicate with Mann outside of the premises. (ECF No 14 at 11–12.) Because Defendants

have put forward no persuasive basis to find that Angel has not stated a § 1983 claim based on

differential treatment, the Court cannot dismiss only a portion of Angel’s claim. BBL, Inc. v. City

of Angola, 809 F.3d 317, 325 (7th Cir. 2015) (“A motion to dismiss under Rule 12(b)(6) doesn't

permit piecemeal dismissals of parts of claims; the question at this stage is simply whether the

complaint includes factual allegations that state a plausible claim for relief.” (emphasis in

original)).

                                              Conclusion

        For the reasons discussed above, Defendants’ motion [14] is denied. Defendants’ answer

is due fourteen days after the entry of this order. A status hearing is set for February 18, 2025. The

parties shall file a joint status report at least three business days prior to the status hearing.



SO ORDERED.                                                      ENTERED: February 6, 2025



                                                                 ______________________
                                                                 HON. JORGE ALONSO
                                                                 United States District Judge
